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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                    ZULEMA MORALES                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:25-cv-02110
                                                                     )
PARAGON SYSTEMS, INC., RONALD JOHNSON,in                             )
 his individual and professional capacities, MARC                    )
   PISCIOTTI, in his individual and professional                     )
capacities, and OMAR MUTAZ, in his individual and                    )
              professional  capacities.
                     Defendant(s)                                    )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Marc Pisciotti
                                           13900 Lincoln Park Drive, Suite 300
                                           Herndon, VA 20171




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Erica T. Healey-Kagan
                                           425 Madison Ave, Suite 1502
                                           New York, NY 10017-1138




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:             03/14/2025                                                                      s/ G. Pisarczyk
                                                                                          Signature of Clerk or Deputy Clerk
